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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

In re:                                                           ) Chapter 11
                                                                 )
KONA GRILL, INC., et al.,1                                       ) Case No.: 19-10953 (CSS)
                                                                 ) Jointly Administered
                                        Debtors.                 )
                                                                 )
                                 Deadline for Objections to Sale and Cure: July 15, 2019 at 4:00p.m. (Eastern time)
                                            Deadline for Submitting Bids: July 18, 2019 at 4:00 p.m. (Eastern time)
                                                           Auction Date: July 23, 2019 at 10:00 a.m. (Eastern time)
                                                       Sale Hearing Date: July 25, 2019 at 2:00 p.m. (Eastern time)


              NOTICE TO COUNTERPARTIES TO EXECUTORY CONTRACTS AND
                UNEXPIRED LEASES THAT MAY BE ASSUMED AND ASSIGNED

                     PLEASE TAKE NOTICE that on April 30, 2019 (the “Petition Date”), the above-

captioned debtors and debtors in possession (the “Debtors”) filed voluntary petitions for relief

under title 11 of the United States Code (the “Bankruptcy Code”).

                     PLEASE TAKE FURTHER NOTICE that on May 14, 2019, the above-

captioned debtors and debtors in possession (the “Debtors”) filed the Motion for Entry of an

Order (I)(A) Authorizing Entry into the Asset Purchase Agreement with Respect to the Sale of

Substantially all of the Debtors’ Assets; (B) Approving Bid Procedures for the Sale of Substantially

All of the Assets of Debtors; (C) Scheduling an Auction and Hearing to Consider the Sale and

Approve the Form and Manner of Notice Related Thereto; (D) Establishing Procedures Relating

to the Assumption and Assignment of Certain Contracts and Leases, Including Notice of Proposed



1
    The Debtors and the last four digits of their respective taxpayer identification numbers include Kona Grill, Inc. (6690);
     Kona Restaurant Holdings, Inc. (6703); Kona Sushi, Inc. (4253); Kona Macadamia, Inc. (2438); Kona Texas
     Restaurants, Inc. (4089); Kona Grill International Holdings, Inc. (1841); Kona Baltimore, Inc. (9163); Kona Grill
     International, Inc. (7911); and Kona Grill Puerto Rico, Inc. (7641). The headquarters and service address for the
     above-captioned Debtors is 15059 North Scottsdale Road, Suite 300, Scottsdale, Arizona 85254.
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Cure Amounts; (E) Approving Certain Break-up Fee Provision; (II) Authorizing and Approving

(A) the Sale of Certain Assets Free and Clear of All Liens, Claims and Encumbrances, Claims,

Encumbrances and Interests and (B) the Assumption and Assignment of Certain Contracts and

Leases; and (III) Granting Related Relief (the “Motion”).2 On May 29, 2019, the Court entered

an order (the “Bid Procedures Order”) granting the Motion in part and approving the bid

procedures annexed hereto (the “Bid Procedures”) to be used in connection with the auction (the

“Auction”) of the Debtors’ assets described in the Motion (the “Assets”) pursuant to the asset

purchase agreement annexed as Exhibit C to the Motion (the “Purchase Agreement”). Pursuant to

the Motion, the Debtors seek, inter alia, the Bankruptcy Court’s approval of the sale of

substantially all of its assets (the “Assets”) to Williston Holding Company, Inc. (the “Stalking

Horse Purchaser”), or to the other successful purchaser(s) (the “Successful Bidder”) of the Assets

at an auction, free and clear of liens, claims, encumbrances and other interests.

                    PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has scheduled

a hearing for July 25, 2019 at 2:00 p.m. (Eastern Time) (the “Sale Hearing”) to consider approval

of the winning bid(s) and confirm the results at the Auction for the Assets, pursuant to the Motion,

before the Honorable Christopher S. Sontchi, United States Bankruptcy Judge, at the United States

Bankruptcy Court for the District of Delaware, 824 North Market Street, 5th Floor, Courtroom

No. 6, Wilmington, Delaware 19801.

                    PLEASE TAKE FURTHER NOTICE that you are a party to an executory

contract(s) or unexpired lease(s) that has been designated for assumption by the Debtors and


2
    Capitalized terms not otherwise defined herein shall have the meanings set forth in the Motion.



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assignment to the Stalking Horse Purchaser, or alternatively, to the Successful Bidder (each an

“Designated Contracts and Leases”). A list of the Designated Contracts and Leases is set forth on

Exhibit A and Exhibit B hereto, along with the amount that must be paid to cure any defaults

existing under such executory contracts (the “Cure Amount”), based upon the Debtors’ books and

records, which the Debtors asserts is owed to cure any defaults existing under the Designated

Contracts and Leases as of the Petition Date.3

                    PLEASE TAKE FURTHER NOTICE that a Successful Bidder, as applicable,

may subsequently elect to exclude any agreement or agreements from the list of Designated

Contracts and Leases at any time prior to the closing of the sale of the Assets, including the

potential exclusion of the Designated Contracts and Leases listed on Exhibit A and Exhibit B

hereto. Cure Amounts, if any, shall only be paid with respect to Designated Contracts and Leases

that are actually assumed pursuant to the closing of the sale of the assets in accordance with the

Purchase Agreement, or the purchase agreement of the Successful Bidder. In the event that a

Successful Bidder elects to exclude any Designated Contracts and Leases, the affected

counterparties will be separately notified of any such election.

                    PLEASE TAKE FURTHER NOTICE that if you disagree with the Cure Amount

shown for the Designated Contracts and Leases on Exhibit A and Exhibit B, or if you object to

the assumption and assignment of your Designated Contract or Lease on any grounds, you must

file an objection in writing with the United States Bankruptcy Court for the District of Delaware,



3
    Your receipt of this notice does not constitute an admission by the Debtors that your agreement actually constitutes
    an executory contract or unexpired lease under section 365 of the Bankruptcy Code, and the Debtors expressly
    reserve the right to challenge the status of any agreement.



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824 Market Street, Wilmington, Delaware 19801, on or before July 15, 2019, at 4:00

p.m.(Eastern Time). In addition, any objection must set forth the specific default or defaults

alleged, set forth any such other ground for objection, and set forth any Cure Amount as alleged

by you, including such documentation and records as supports your asserted cure amount.

                  PLEASE TAKE FURTHER NOTICE that any objection to any of the relief to

be requested at the Sale Hearing must be in writing, state the basis of such objection with

specificity, and shall be filed with the Court and shall be served on (i) counsel to the Debtor and

Debtor-in-Possession, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,

P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801), Attn: John W. Lucas and James

E. O’Neill; (ii) counsel to the Official Committee of Unsecured Creditors, Kelley Drye & Warren

LLP, 101 Park Avenue, New York, NY 10178, Attn: James S. Carr and Jason R. Adams, Bayard,

P.A., 600 North King Street, Suite 400, P.O. Box 25130, Wilmington, DE 19899, Attn: Justin R.

Alberto and Erin R. Fay; (iii) the Office of the United States Trustee, J. Caleb Boggs Federal

Building, 844 N. King Street, Suite 2207, Lock Box 35, Wilmington, DE 19801, Attn: Jaclyn

Weissgerber; and (iv) counsel to the Stalking Horse Purchaser, Gray Plant Mooty, 500 IDS Center,

80 South Eighth Street, Minneapolis, MN 55402 (Attn: Phillip Bohl) and Austria Legal, LLC,

1007 North Orange Street, 4th Floor, Wilmington, DE 19801 (Attn: Matthew Austria), so as to be

received by July 15, 2019 at 4:00 p.m. (Eastern Time).

                  PLEASE TAKE FURTHER NOTICE THAT IF YOU DO NOT TIMELY

FILE AND SERVE AN OBJECTION OR OBJECTIONS AS STATED ABOVE, THE

COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT



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FURTHER NOTICE. ANY NON-DEBTOR PARTY TO ANY ASSUMED EXECUTORY

CONTRACT WHO DOES NOT FILE A TIMELY OBJECTION TO THE CURE

AMOUNTS FOR SUCH DESIGNATED CONTRACTS AND LEASES IS DEEMED TO

HAVE CONSENTED TO SUCH CURE AMOUNTS, AND ANY NON-DEBTOR PARTY

TO ANY DESIGNATED CONTRACTS AND LEASES WHO DOES NOT FILE A

TIMELY OBJECTION ON OTHER GROUNDS IS DEEMED TO HAVE CONSENTED

TO SUCH ASSIGNMENT AND ASSUMPTION.

Dated: May 31, 2019                  PACHULSKI STANG ZIEHL & JONES LLP


                                     /s/ James E. O’Neill
                                     Jeremy V. Richards (CA Bar No. 102300)
                                     James E. O’Neill (DE Bar No. 4042)
                                     John W. Lucas (CA Bar No. 271038)
                                     919 N. Market Street, 17th Floor
                                     Wilmington, DE 91899
                                     Tel: (302) 652-4100
                                     Fax: (302) 652-4400
                                     E-mail: jrichards@pszjlaw.com
                                             joneill@pszjlaw.com
                                             jlucas@pszjlaw.com

                                     Attorneys for Debtors and Debtors in Possession




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                        EXHIBIT A

                    (Designated Contracts)
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                                                  Exhibit A
                                                  DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
      COUNTERPARTY             ADDRESS                                                                CURE AMOUNT ($)
                                                                 DEBTOR'S INTEREST


                     ATTN: VIC DE ZEN
2416000 ONTARIO
                     100 ZENWAY BLVD
LIMITED (TORONTO                                  FRANCHISE AGREEMENT RE: CANADA DATED 4/11/2017   $0.00
                     VAUGHN, ONT L4H2Y7
FRANCHISEE)
                     CANADA


                     1415 W. MAGNOLIA BLVD
ADM MARKETING        BURBANK, CA 91506            SERVICES AGREEMENT FOR OPERATIONS                $0.00
                     USA
                     4125 HOPYARD ROAD
                     ATTN: GENERAL MANAGER,
ADP                  NAT'L SVC CNTR               401(K) PLAN RECORDKEEPING DATED 12/1/2006        $15,205.08
                     PLEASANTON, CA 94588
                     USA
                     6171 HUNTLEY ROAD, STE E     SERVICES AGREEMENT FOR REPAIR SERVICE RE:
AIRECOM, INC.        COLUMBUS, OH 43229           COLUMBUS, OH ‐ HVAC REPAIR SERVICE DATED         $4,628.76
                     USA                          3/14/2018
                     ATTN: DAVID FAIR
                     3101 STAFFOD DR
AIRGAS, INC.                                      SERVICES AGREEMENT FOR CO2 DATED 10/3/2018       $21,007.07
                     CHARLOTTE, NC 28208
                     USA
                     DBA COMPEAT RESTAURANT
                     MGMT SYSTEMS
ALLWARE COMPUTER
                     11500 ALTERRA PKWY STE 130   SERVICES AGREEMENT FOR SOFTWARE DATED 9/20/2018 $13,292.22
SERVICES, INC.
                     AUSTIN, TX 78758
                     USA




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                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
    COUNTERPARTY                 ADDRESS                                                                  CURE AMOUNT ($)
                                                                    DEBTOR'S INTEREST
                       175 S WEST TEMPLE, STE 510
                       ATTN CORPORATE ACCOUNTS
                                                     SERVICES AGREEMENT FOR LINEN RENTAL DATED
ALSCO                  MANAGER                                                                        $31,108.89
                                                     8/25/2015
                       SALT LAKE CITY, UT 84101
                       USA
                       PO BOX 360001
AMERICAN EXPRESS       FT LAUDERDALE, FL 33336‐0001 SERVICES AGREEMENT                                $0.00
                       USA
                       PO BOX 728
                                                     SERVICES AGREEMENT AGREEMENT FOR LINENS
AMERIPRIDE             BEMIDJI, MN 56619‐0728                                                         $3,467.88
                                                     STAMFORD, CT
                       USA
                       PO BOX 731676
ARAMARK UNIFORM
                       DALLAS, TX 75373‐1676         SERVICES AGREEMENT FOR LINENS DATED 9/19/2013    $124,399.00
SERVICES
                       USA
                       6 CENTRAL AVE
ATLANTIC CONSULTING
                       TENAFLY, NJ 07670             SERVICES AGREEMENT FOR CONSULTING DATED 3/1/2017 $4,400.00
INTERNATIONAL
                       USA
                       7876 COLLECTIONS CENTER DR.
AVIS RENT A CAR
                       CHICAGO, IL 60693             SERVICES AGREEMENT FOR CAR RENTAL DATED 5/1/2016 $0.00
SYSTEMS, INC
                       USA
                       BIGART ‐ ECOSYSTEMS, LLC
BIGART‐ECOSYSTEMS LLC 5301 RIATA PARK CT F
                                                     SERVICES AGREEMENT FOR SOFTWARE DATED 4/29/2019 $3,160.00
DBA WISETAIL           AUSTIN, TX 78727
                       USA
                       PO BOX 81049
BLUE CROSS BLUE SHIELD
                       PHOENIX, AZ 85069             SERVICES AGREEMENT DATED 1/1/2019                $0.00
OF AZ
                       USA




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                                                    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
   COUNTERPARTY                 ADDRESS                                                                    CURE AMOUNT ($)
                                                                   DEBTOR'S INTEREST

                      IND MINILLAS 221 AVE LAUREL
CADILLACE UNIFORM &
                      BAYAMON, 00959‐1908           SERVICES AGREEMENT FOR LINEN RENTAL ‐PUERTO RICO $4,794.32
LINEN SUPPLY LLC
                      Puerto Rico
                    2525 WALLINGWOOD DR, STE
                    601
CAREERPLUG LLC                                      SERVICES AGREEMENT FOR SOFTWARE DATED 5/15/2018 $27,345.00
                    AUSTIN, TX 78746
                    USA
                    25 PEARL ST 2ND FLOOR
CASHSTAR INC.       PORTLAND, ME 04101              SERVICES AGREEMENT DATED 9/26/2015                  $0.00
                    USA
                    7435 E. TIERRA BUENA LANE
                                                    SERVICES AGREEMENT FOR COGS FOOD BEVERAGE‐TROY
CHINA MIST          SCOTTSDALE, AZ 85260                                                           $3,099.48
                                                    DATED 12/31/2018
                    USA
                    ATTN: KYLE GROVE
                    920 E MADISON ST
CLOUDIT                                             NETWORK AND HELP DESK SERVICES DATED 4/15/2019      $0.00
                    PHOENIX, AZ 85034
                    USA
                    ATTN: SCOTT WOODBURN
                    ONE COCA COLA PLAZA
COCA COLA USA                                       BEVERAGE & MARKETING CONTRACT                       $3,139.25
                    ATLANTA, GA 30313
                    USA
                    PO BOX 51985
COCA‐COLA PUERTO
                    TOA BAJA, PR 00950‐1985         EQUIPMENT LEASE DATED 6/1/2017 ‐ Missing Contract   $5,889.37
RICO BOTTLING
                    USA
                    PO BOX 660618
COMCAST             DALLAS, TX 75266‐0618           SERVICES AGREEMENT                                  $506.68
                    USA
                    62157 COLLECTIONS CENTER
                    DRIVE                           SERVICES AGREEMENT FOR TRAVEL AND EXPENSE
CONCUR TECHNOLOGIES                                                                                     $810.20
                    CHICAGO, IL 60693               SOFTWARE DATED 1/1/2018
                    USA


                                                              Page 3
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                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
    COUNTERPARTY                ADDRESS                                                                    CURE AMOUNT ($)
                                                                    DEBTOR'S INTEREST
CONSOLIDATED          ATTN: ANDY SUNDELL
CONCEPTS,             3530 W. PICKET LINE            SERVICES AGREEMENT FOR DISTRIBUTION ‐ FOOD &
                                                                                                       $0.00
INC./SUNDELL &        FLAGSTAFF, AZ 86005            SUPPLIES DATED 9/15/2018
ASSOCIATES            USA
                      1221 LAMAR STREET
                      SUITE 750
CONSTELLATION         ATTN: CONTRACTS
                                                     AGREEMENT FOR ELECTRIC RE: TROY DATED 3/16/2018   $6,785.75
NEWENERGY, INC.       ADMINISTRATION
                      HOUSTON, TX 77010
                      USA
                      CONTINENTAL STOCK TRANSFER
                      & TRUST CO
CONTINENTAL STOCK     ONE STATE STREET PLAZA, 30TH   SERVICES AGREEMENT FOR PROFESSIONAL FEES DATED
                                                                                                       $2,744.91
TRANSFER              FLOOR                          10/1/2012
                      NEW YORK, NY 10004
                      USA
                      ATTN: MARK SALAK
                      PO BOX 5006                    SERVICES AGREEMENT FOR SATELLITE TV SERVICE DATED
DIRECT TV                                                                                              $25,694.84
                      CAROL STREAM, IL 60197‐5006    4/29/2016
                      USA

                      1515 WOODFIELD RD, SUITE 600,
DISTRIBUTION MARKET                                 FOOD SERVICE DISTRIBUTION AGREEMENT DATED
                      SCHAMBURG, IL 60703                                                              $199,916.97
ADVANTANGE (DMA)                                    9/1/2017
                      USA
                      ATTN: JESSICA REYES
                      PO BOX 602777
DMX, INC/MOOD                                        SERVICES AGREEMENT FOR MUSIC SERVICE              $4,727.17
                      CHARLOTTE, NC 28260‐2777
                      USA




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                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
    COUNTERPARTY                  ADDRESS                                                                   CURE AMOUNT ($)
                                                                      DEBTOR'S INTEREST

                        ATTN: BRIAN SOMMERS
                        116 NEW MONTGOMERY STREET SERVICES AGREEMENT FOR FOOD DELIVERY SERVICE
DOOR DASH                                                                                                $0.00
                        SAN FRANCISCO, CA 94105   DATED 2/28/2017
                        USA
                        PO BOX 879
EASY ICE, LLC           MARQUETTE, MI 49855            EQUIPMENT LEASE ‐ BATON ROUGE DATED 2/22/2019     $2,034.68
                        USA
                        ATTN: RON BLACIC
                        7272 E INDIAN SCHOOL RD, STE   GENERAL CONRTACT DATED 10/1/2015 ‐ 138
ECOLAB ‐ CA REMIT
                        104                            EQUIPMENT LEASE AGREEMENTS FOR VARIOUS            $105,123.23
(CHEMICAL)
                        SCOTTSDALE, AZ 85251           LOCATIONS
                        USA
                        ATTN: MIGUEL SERRANO
                        LUCHETTII IND PARK
Ecolab Mfg Inc Puerto                                  DISH MACHINE LEASES RE: SAN JUAN PUERTO RICO
                        ROAD #28                                                                         $8,235.83
Rico                                                   DATED 2/6/2015
                        BAYAMON, PR 00960
                        USA
                        ATTN: SETH NESBIT
                        1313 N ATLANTIC, STE 5000
ECOVA INC                                              SERVICES AGREEMENT FOR SOFTWARE DATED 3/15/2019 $1,185.08
                        SPOKANE, WA 99201
                        USA
                        9801 ADAM DON PKWY
EDWARD DON &                                           SERVICES AGREEMENT FOR PAPER SUPPLY DATED
                        WOODBRIDGE, IL 60517                                                             $193,802.88
COMPANY                                                9/21/2013
                        USA
                        1350 W MIDDLEFIELD ROAD
                                                       SERVICES AGREEMENT FOR FILE STORAGE AND SHARING
EGNYTE, INC.            MOUNTAIN VIEW, CA 94043                                                          $136.40
                                                       SERVICES DATED 4/29/2018
                        USA
                        PO BOX 632530
EYEMED VISION CARE      CINCINNATI, OH 45263‐2530      SERVICES AGREEMENT DATED 1/1/2019                 $1,187.15
                        USA



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    COUNTERPARTY                 ADDRESS                                                                 CURE AMOUNT ($)
                                                                    DEBTOR'S INTEREST
                       ATTN: MARK BIANCHI
F&B MANAGEMENT         7201 E. CAMELBACK RD #222
                                                     SERVICES AGREEMENT DATED 4/9/2019                $9,642.49
ARIZONA CORP           SCOTTSDALE, AZ 85251
                       USA
                       PO BOX 25119
FOOD SERVICES OF
                       SCOTTSDALE, AZ 85255‐0178     SERVICES AGREEMENT                               $11,790.10
AMERICA BOISE
                       USA
                       ATTN: CHRIS
                       6596 S 118TH ST
FRED'S HVAC SERVICES                                 SERVICES AGREEMENT FOR R&M ‐ HVAC DATED 6/5/2018 $854.93
                       OMAHA, NE 68137
                       USA
                       25109 JEFFERSON AVE STE 305
FRESH CONCEPTS
                       MURIRIETA, CA 92562           SERVICES AGREEMENT                               $0.00
PRODUCE
                       USA
                    3209 MOMENTUM PLACE
GARDA CL WEST INC.  CHICAGO, IL 60609                ARMORED CAR COURIER SERVCES DATED 7/11/2018      $30,072.82
                    USA
                    11311 HAPSHIRE AVE S
                                                     PLANNED MAINTENANCE AGREEMENT FOR
GENERAL PARTS       BLOOMINGTON, MN 55438                                                             $25,133.68
                                                     REFRIGERATION, HVAC AND COOKING EQUIPMENT
                    USA
                    PO BOX 88029
                                                     SERVICES AGREEMENT FOR FOOD DISTRIBUTOR RE:
GFS KENOSHA         CHICAGO, IL 60680‐1029                                                            $19,849.35
                                                     VENDOR UNDER DMA CONTRACT
                    USA
GRANITE             PO BOX 983119
TELECOMMUNICATIONS, BOSTON, MA 02298‐3119            SERVICES AGREEMENT                               $4,915.27
LLC                 USA
                       111 W WASHINGTON ST #2100
GRUBHUB EL PASO        CHICAGO, IL 60602             SERVICES AGREEMENT FOR OPERATIONS                $0.00
                       USA




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    COUNTERPARTY                  ADDRESS                                                                  CURE AMOUNT ($)
                                                                     DEBTOR'S INTEREST

                        111 W WASHINGTON ST #2100
GRUBHUB KANSAS CITY     CHICAGO, IL 60602             SERVICES AGREEMENT FOR DELIVERY SERVICE          $0.00
                        USA
                     109 JEFFERSON ST N #12
GRUBSOUTH HUNTSVILLE HUNTSVILLE, AL 35801             SERVICES AGREEMENT FOR DELIVERY SERVICE          $0.00
                     USA
                        ATTN: E. MICHAEL ZIMMER, JR
HARFORD                 7915 PHILADELPHIA RD
                                                      SERVICES AGREEMENT FOR R&M ‐ HVAC DATED 7/1/2018 $9,339.95
REFRIGERATION CO., INC. BALTIMORE, MD 21237
                        USA

                        ATTN: GREG GILLINS
                        3440 PRESTON RIDGE RD. #650
HOTSCHEDULES, INC.                                    SERVICES AGREEMENT FOR SOFTWARE DATED 10/1/2017 $5,363.90
                        ALPHARETTA, GA 30005
                        USA

                        PO BOX 57330
HOTWIRE BUSINESS
                        PHILADELPHIA, PA 19111‐7330   SERVICES AGREEMENT DATED 10/1/2018               $978.04
SOLUTIONS LTD
                        USA
                        ATTN: JESSICA MENDEZ
                        3773 HOWARD HUGHES PKWY
                                                      SERVICES AGREEMENT FOR REGISTERED AGENT SERVICES
INCORP SERVICES, INC.   STE 500 S                                                                      $0.00
                                                      DATED 10/1/2017
                        LAS VEGAS, NV 89169‐6014
                        USA
                        ATTN: CE ONDRAS
                        7001 SW 24TH AVE
INFINITE ENERGY                                       NATURAL GAS RE: ALPHARETTA DATED 8/1/2017        $0.00
                        GAINSVILLE, FL 32607
                        USA




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   COUNTERPARTY                     ADDRESS                                                                 CURE AMOUNT ($)
                                                                      DEBTOR'S INTEREST
                         8360 E RAINTREE DR #230
                                                       SERVICES AGREEMENT FOR ADVERTISING DATED
INNOVATIVE MEDIA         SCOTTSDALE, AZ 85281                                                            $0.00
                                                       7/1/2018
                         USA
                         2277 West Hwy 36, Suite 300
INTERDYN BMI             Roseville, MN 55113           GREATPLAINS SOFTWARE ‐ LICENSES                   $143.75
                         USA
                         ATTN: COMMERCIAL &
                         INDUSTRIAL SALES
INTERSTATE GAS SUPPLY,                                 AGREEMENT FOR NATURAL GAS RE: OAKBROOK DATED
                         6100 EMERALD PARKWAY                                                            $0.00
INC                                                    5/1/2019
                         DUBLIN, OH 43016
                         USA
                         ATTN: COMMERCIAL &
                         INDUSTRIAL SALES
INTERSTATE GAS SUPPLY,                                 AGREEMENT FOR NATURAL GAS RE: OAKBROOK DATED
                         6100 EMERALD PARKWAY                                                            $0.00
INC                                                    5/1/2019
                         DUBLIN, OH 43016
                         USA
                         ATTN: COMMERCIAL &
                         INDUSTRIAL SALES
INTERSTATE GAS SUPPLY,                                 AGREEMENT FOR NATURAL GAS RE: OAKBROOK DATED
                         6100 EMERALD PARKWAY                                                            $0.00
INC                                                    5/1/2019
                         DUBLIN, OH 43016
                         USA
                         ATTN: COMMERCIAL &
                         INDUSTRIAL SALES
INTERSTATE GAS SUPPLY,                                 AGREEMENT FOR NATURAL GAS RE: OAKBROOK DATED
                         6100 EMERALD PARKWAY                                                            $0.00
INC                                                    5/1/2019
                         DUBLIN, OH 43016
                         USA
                         ATTN: COMMERCIAL &
                         INDUSTRIAL SALES
INTERSTATE GAS SUPPLY,                                 AGREEMENT FOR NATURAL GAS RE: OAKBROOK DATED
                         6100 EMERALD PARKWAY                                                            $0.00
INC                                                    5/1/2019
                         DUBLIN, OH 43016
                         USA



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   COUNTERPARTY              ADDRESS                                                                  CURE AMOUNT ($)
                                                                 DEBTOR'S INTEREST

                   301 WEST 11TH ST., 4TH FLOOR
                   PO BOX 419090                  PREMIUM FINANCE AGREEMENT FOR D&O POLICY DATED
IPFS CORPORATION                                                                                 $0.00
                   KANSAS CITY, MO 64141‐6090     11/1/2018
                   USA
                   ATTN: MATTHEW BORDWIN
                   KEEN‐SUMMIT CAPITAL
                   PARTNERS, LLC
KEEN               1 HUNTINGTON QUADRANGLE,       LEASE RESTRUCTURING DATED 4/25/2019              $0.00
                   SUITE 2C04
                   MELVILLE, NY 11747
                   USA
                   ATTN: KARL LILLIE
                   3758 E GROVE STREET
LASER OPTIONS                                     COPIER LEASES & TONER RE: CORP                   $649.64
                   PHOENIX, AZ 85040
                   USA
                   444 W 47TH ST, STE 900
LOCKTON            KANSAS CITY, MO 64112‐1906     AUTO POLICY DATED 4/1/2018                       $0.00
                   USA
                   444 W 47TH ST, STE 900
LOCKTON ‐ FEE
                   KANSAS CITY, MO 64112‐1906     FEE SERVICES AGREEMENT DATED 4/1/2018            $0.00
AGREEMENT
                   USA
                   ATTN: TERRI DEANE
                   101 BROOME CORPORATE
MAINES PAPER AND
                   PARKWAY                        SERVICES AGREEMENT DATED 9/1/2017                $21,241.01
FOOD SERVICE
                   CONKLIN, NY 13748
                   USA
                   ATTN: CHUCK MAGEE
                   PO BOX 198755                  SERVICES AGREEMENT FOR ANTI‐VIRUS SOFTWARE FOR
NCR CORPORATION                                                                                    $9,708.50
                   ATLANTA, GA 30384‐8755         ALOHA SERVER AND TERMINALS DATED 1/1/2019
                   USA



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                                                    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
    COUNTERPARTY                ADDRESS                                                                 CURE AMOUNT ($)
                                                                   DEBTOR'S INTEREST
                      ATTN: MIKE WILEY
                      36 N HOTEL ST
NELLA MEDIA GROUP                                   ADVERTISING AGREEMENT RE: WAIKIKI LOCATION DATED
                      SUITE A‐105, LOT 13‐A                                                          $0.00
(NRG)                                               2/1/2019
                      HONOLULU, HI 96817
                      USA
                      ATTN: DANILE CHILVERS
                      NEOFUNDS & MAILFINANCE
                      LEASE AGREEMENT               EQUIPMENT LEASE AGREEMENT FOR IS‐350 GREEN
NEOPOST                                                                                              $1,562.89
                      478 WHEELERS FARM ROAD        MAILING SOLUTION DATED 12/12/2020
                      MILTON, CT 06461
                      USA
                      1919 W LONE CACTUS DR
NEXUSTEK              PHOENIX, AZ 85027             SERVICES AGREEMENT DATED 3/12/2015               $0.00
                      USA
                      ATTN: RODNEY HUSBANDS
                      2800 SE MARKET PLACE          CO2 AND TANK/GENERATOR RENTAL AGREEMENT RE:
NUCO2, INC.                                                                                          $16,588.06
                      STUART, FL 34997              BALTIMORE, DALLAS & TAMPA DATED 12/21/2018
                      USA
                      1 MONTGOMERY ST               SERVICES AGREEMENT RE: ONLINE RESERVATION SYSTEM
OPEN TABLE            SAN FRANCISCO, CA 94104       RE: MINNETONKA, NASHVILLE, AND WAIKIKI DATED     $0.00
                      USA                           4/18/2016
                      PO BOX 41602
PACIFIC OFFICE                                      DOCUMENT MANAGEMENT SOFTWARE AGREEMENT
                      PHILADELPHIA, PA 19101‐1602                                                    $6,952.91
AUTOMATION                                          DATED 9/27/2017
                      USA
                      7501 W MEMORIAL RD
PAYCOM PAYROLL LLC    OKLAHOMA CITY, OK 73142       SERVICES AGREEMENT FOR PAYROLL DATED 8/31/2018   $45.00
                      USA
                      80 BRIDGE ST
                                                    SERVICES AGREEMENT FOR OPERATIONS SOFTWARE
PAYTRONIX SYSTEMS INC NEWTON, MA 02458                                                               $250.00
                                                    DATED 7/1/2018
                      USA



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                                                      DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
    COUNTERPARTY                 ADDRESS                                                                  CURE AMOUNT ($)
                                                                     DEBTOR'S INTEREST
                       690 5TH STREET
POSTMATES              SAN FRANCISCO, CA 94107        FOOD DELIVERY AGREEMENT                          $0.00
                       USA
                       PO BOX 501
                                                      SERVICES AGREEMENT FOR R&M ‐ HVAC ‐ STAMFORD,
R. A. LEVINE COMPANY   WEST HAVEN, CT 06516                                                            $1,053.56
                                                      CT DATED 7/1/2018
                       USA
                       ATTN: AL SEEF
RAS AL KHAIMAH
                       KG RESTAURANTS LLC
HOSPITALITY GROUP
                       PO BOX 73692                   FRANCHISE AGREEMENT RE: UAE DATED 11/27/2017     $0.00
(HAKAYA COLLECTION)
                       DUBAI
LLC
                       UAE
                       ATTN: CHRIS SUNDERMEIER
                       1400A SEAPORT BLVD, STE #401 SERVICES AGREEMENT FOR MANAGEMENT PLATFORM
REPUTATION.COM, INC                                                                                    $1,288.00
                       REDWOOD CITY, CA 94063       FOR SOCIAL MEDIA DATED 4/1/2018
                       USA
                       3450 3rd St.
                       #3‐F                           SERVICES AGREEMENT FOR SEC EDGAR AND XBRL
Research Data Group                                                                                    $968.67
                       SAN FRANCISCO, CA 94124        SERVICES DATED 6/30/2015
                       USA
                       ATTN: DAVID SCHOFIELD
RESTAURANT             1042 N EL CAMINO REAL ST STE
                                                      SERVICES AGREEMENT FOR PROFEE ‐ G&A ‐ CONSULT‐
REVOLUTION             500                                                                             $15,300.00
                                                      SCOTTSDALE DATED 12/22/2018
TECHNOLOGIES, INC.     ENCINITAS, CA 92024
                       USA
                       17304 PRESTON ROAD STE 430
                                                      SERVICES AGREEMENT FOR PEOPLE REPORT ‐ HR DATA
TDN2K, LLC             DALLAS, TX 75252                                                                $0.00
                                                      TOOL DATED 5/30/2018
                       USA




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                                                  DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
    COUNTERPARTY              ADDRESS                                                                 CURE AMOUNT ($)
                                                                 DEBTOR'S INTEREST
                   ATTN: NAZY FOULADIRAD
                   ONE SPECTRUM POINTE DR STE
TEVORA BUSINESS                                   SERVICES AGREEMENT AGREEMENT FOR AUDIT RE: PCI
                   200                                                                             $19,814.95
SOLUTIONS INC.                                    AUDITOR DATED 1/1/2019
                   LAKE FORREST, CA 92630
                   USA
                   1 VANTAGE WAY STE A‐105
THOMAS & THORNGREN                                SERVICES AGREEMENT FOR UNEMPLOYMENT COST
                   NASHVILLE, TN 37228                                                             $1,000.00
INC.                                              CONTROL DATED 7/3/2018
                   USA
                    101 NORTH HAVEN ST, STE 203
                                                  SERVICES AGREEMENT FOR 60,000 PERSONALITY
TRAITIFY            BALTIMORE, MD 21224                                                            $0.00
                                                  ASSESSMENTS DATED 10/15/2017
                    USA
                    ATTN: CHANCE BROFFIT
                    10300 SPRINGFIELD PIKE        SERVICES AGREEMENT FOR REPAIR SERVICE RE: HVAC
TRANE U.S. INC.                                                                                    $8,487.91
                    CINCINNATI, OH 75215‐1118     REPAIR SERVICE ‐ CINCINNATI DATED 6/1/2018
                    USA
                    ONE TYSYS WAY
TSYS                COLUMBUS, GA 31901            SERVICES AGREEMENT                               $0.00
                    USA
                    ATTN: JOSH KRIER
                    2588 FIRE MESA AVE STE 140    SECURTIY EQUIPMENT AND ALARM MONITORING
TYCO                                                                                               $2,723.31
                    LAS VEGAS, NV 89128           AGREEMENT
                    USA
                    PORTIER LLC
                    ATTN: LEGAL, ELIZABETH
                    MEYERDIRK
UBER EATS           160 GREENTREE DRIVE, SUITE    FOOD DELIVERY AGREEMENT DATED 5/30/2017          $0.00
                    101
                    DOVER, DE 19904
                    USA




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                                                   DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
    COUNTERPARTY                 ADDRESS                                                               CURE AMOUNT ($)
                                                                  DEBTOR'S INTEREST
                       10 DIAMOND AVE SE
                                                   UNIFORM AND GARMENT RENTAL SERVICE AGREEMENT
VALLEY CITY LINEN      GRAND RAPIDS, MI 49506                                                       $7,239.37
                                                   [●]
                       USA
                       ATTN: PAUL OGLE
VASEY COMMERCIAL
                       10830 ANDRADE DRIVE         HVAC MAINTENANCE AGREEMENT RE: CARMEL DATED
HEATING & AIR                                                                                       $9,245.56
                       ZIONSVILLE, IN 46077        8/1/2018
CONDITIONING, INC.
                       USA
                       2415 E CAMELBACK RD STE 1000
VINCENTBENJAMIN                                     SERVICES AGREEMENT FOR TEMPORARY EMPLOYMENT
                       PHOENIX, AZ 85016                                                            $2,659.45
GROUP LLC                                           AGENCY RE: STORE NO. 000 ‐ CORPORATE OFFICE
                       USA
                       ATTN: HEIDE R
                       8151 E EVANS RD, STE. 2     SERVICES AGREEMENT FOR WEBSITE HOSTING FOR
VURIA LLC                                                                                           $299.75
                       SCOTTSDALE, AZ 85260        WWW.KONAGRILL.COM
                       USA
                       WEST CORPORATION
                       PO BOX 74007143             SERVICES AGREEMENT FOR WEBHOSTING OF INVESTOR
WEST LLC                                                                                            $5,812.63
                       CHICAGO, IL 60674‐7143      RELATIONS WEBSITE, PRESS RELEASE DISTRIBUTION
                       USA
                       PO BOX 9001013
WINDSTREAM (PAETEC)    LOUISVILLE, KY 40290‐1013   SERVICES AGREEMENT FOR IT                        $82,435.72
                       USA
                       212 S WALLACE, STE B2
                                                   SERVICES AGREEMENT FOR E‐LEARNING PLATFORM
WISETAIL (CRAFT HUB)   BOZEMAN, MT 59715                                                            $0.00
                                                   DATED 7/28/2018
                       USA




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                       EXHIBIT B

                    (Designated Leases)
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                                            Exhibit B
                                                                                                                    Cure
     Store Identification                   Counterparty to Lease               Address of Counterparty
                                                                                                                   Amount
                                                                        ATTN: ALICIA PETERS, 168TH AND DODGE LP
                                                                           C/O RED DEVELOPMENT ATTN LEASE
                                                                                     ADMINISTRATION
 STORE NO. 107 ‐ OMAHA NE                   168TH & DODGE L.P.                                                    $36,990.17
                                                                             ONE E WASHINGTON ST, STE 300
                                                                                    PHOENIX, AZ 85004
                                                                                          USA
                                                                            C/O BANYAN STREET CAPITAL, LLC
                                      BANYAN STREET/GAP 1 EAST PRATT            80 SW 8TH ST, SUITE 2200
STORE NO. 127 ‐ BALTIMORE MD                                                                                      $92,107.86
                                              HOLDINGS, LLC                         MIAMI, FL 33130
                                                                                          USA
                                                                               ATTN: ANGELINA SCARCELLI
                                                                              C/O COLLIERS INTERNATIONAL
                                       BEAR STRNS COM MG SEC INC MG
 STORE NO. 105 ‐ BOCA PARK                                                3960 HOWARD HUGHES PKWY, STE 150        $132,729.57
                                       PT CT SERIES 2005‐PWR7 REMIC I
                                                                                  LAS VEGAS, NV 89169
                                                                                          USA
                                                                                 C/O WP GLIMCHER INC.
                                                                                 180 EAST BROAD STREET
   STORE NO. 108 ‐ CARMEL                CLAY TERRACE PARTNERS LLC           ATTN PROPERTY MANAGEMENT             $37,733.88
                                                                                  COLUMBUS, OH 43215
                                                                                          USA
                                                                                 ATTN: MICHELE WALTON
                                                                            C/O THE TAUBMAN COMPANY LLC
 STORE NO. 103 ‐ KANSAS CITY             COUNTRY CLUB PLAZA JV LLC           200 EAST LONG LAKE RD, STE 300       $136,679.61
                                                                                 DETROIT, MI 48267‐1895
                                                                                          USA




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                                                                                                                     Cure
            Store Identification                  Counterparty to Lease              Address of Counterparty
                                                                                                                    Amount
                                                                                    C/O STEINER + ASSOCIATES
                                                                                4016 TOWNSFAIR WAY, SUITE 201
                                                                              ATTN LEASE ADMINISTRATION, SHARON
       STORE NO. 133 ‐ COLUMBUS OH             EASTON TOWN CENTER II, LLC                                          $6,093.65
                                                                                           KONDRACKI
                                                                                      COLUMBUS, OH 43219
                                                                                              USA
                                                                                C/O MILLER CAPITAL ADVISORY INC
                                                                                 5750 OLD ORCHARD RD, STE 400
                                              INSTITUTIONAL MALL INVESTORS
       STORE NO. 148 ‐ HUNTSVILLE AL                                          ATTN STACY S. ANDERSON, RYAN GINTY   $62,544.36
                                                LLC DBA IMI HUNTSVILLE LLC
                                                                                         SKOKIE, IL 60077
                                                                                              USA
                                                                                    THE SHOPS AT LA CANTERA
                                                                                    350 N ORLEANS ST, STE 300
                                                LA CANTERA RETAIL LIMITED
STORE NO. 110 ‐ SAN ANTONIO LA CANTERRA TX                                    ATTN LAW/LEASE ADMINISTRATION DEPT     $0.00
                                                      PARTNERSHIP
                                                                                     CHICAGO, IL 60654‐1607
                                                                                              USA
                                                                              C/O APOLLO COMMERCIAL REAL ESTATE
                                                                                           FINANCE INC
                                                                              ATTN RACHEL HUNTER, DAYMON WARD
      STORE NO. 141 ‐ CINCINNATI OH                LIBERTY CENTER LLC                                              $46,595.78
                                                                                           9 W 57TH ST
                                                                                      NEW YORK, NY 10019
                                                                                               USA
                                                                                 7940 VIA DELLAGIO WAY, STE 200
                                                LUXE WINTER PARK, LLC DBA
      STORE NO. 149 ‐ WINTER PARK FL                                                                                 $0.00
                                                LAKESIDE CROSSING WP, LLC              ORLANDO, FL 32819
                                                                                              USA
                                                                                      3270 W BIG BEAVER RD
           STORE NO. 117 ‐ TROY                   MAMTA HOLDINGS, LLC                                                $0.00
                                                                                         TROY, MI 48084
                                                                                              USA




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                                                                                                                      Cure
            Store Identification                  Counterparty to Lease               Address of Counterparty
                                                                                                                     Amount
                                                                                   C/O CENTERCAL PROPERTIES LLC
                                                                                        1600 E FRANKLIN AVE
         STORE NO. 129 ‐ BOISE ID                MERIDIAN CENTERCAL, LLC      ATTN JEAN PAUL WARDY, HUGH CRAWFORD   $33,225.61
                                                                                       EL SEGUNDO, CA 90245
                                                                                                USA
                                                                                     C/O TAYOR & MATHIS OF FL
                                                                                   4010 BOY SCOUT BLVD, STE 160
                                              METROPOLITAN LIFE INSURANCE       ATTN PROPERTY MANAGER, JENNIGER
        STORE NO. 128 ‐ TAMPA FL                                                                                    $53,312.88
                                                  DBA METWEST RETAIL                         HATCHETT
                                                                                          TAMPA, FL 33607
                                                                                                USA
                                                                                           PO BOX 612083
         STORE NO. 111 ‐ DALLAS               NORTH PARK MERCHANTS ASSOC.                                             $0.00
                                                                                      DALLAS, TX 75261‐2083
                                                                                               USA
                                                                                        ATTN: GLEN JONES
                                                                               8080 NORTH CENTRAL EXPWY STE 1100
         STORE NO. 111 ‐ DALLAS                  NORTHPARK PARTNERS, LP                 ATTN LEGAL DEPT             $4,787.02
                                                                                        DALLAS, TX 75206
                                                                                               USA
                                                                              C/O BRENDA CRAWFORD, NORT STAR MALL
                                                                                        110 N WACKER DR
STORE NO. 143 ‐ SAN ANTONIO NORTH STAR TX    NSMJV, LLC DBA NORTH STAR MALL      ATTN LAW/LEASE ADMINISTRATION        $0.00
                                                                                        CHICAGO, IL 60606
                                                                                              USA
                                                                                       ATTN: MICHELE WALTON
                                                                                             TAUBMAN
                                               PLAZA INTERNACIONAL PUERTO
       STORE NO. 136 ‐ SAN JUAN PR                                                 200 EAST LONG LAKE RD, STE 300   $70,489.64
                                                         RICO LLC
                                                                                       DETROIT, MI 48267‐1895
                                                                                                USA


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                                                                                                                     Cure
            Store Identification                   Counterparty to Lease              Address of Counterparty
                                                                                                                    Amount
                                                                                      ATTN: PETER HARTMAN
                                                                                  HARTMON SIMONS & WOOD LLP
                                               PRISA LHC LLC DBA PR AVALON
      STORE NO. 134 ‐ ALPHARETTA GA                                             6400 POWERS FERRY RD NW STE 400    $33,722.19
                                                    PHASE I OWNER, LLC
                                                                                        ATLANTA, GA 30339
                                                                                                USA
                                                                                    C/O RIDGEDALE CENTER LLC
                                                                                         110 N WACKER DR
                                                                                ATTN LEASE ADMINISTRATION, GINNY
     STORE NO. 145 ‐ MINNETONKA MN                  RIDGEDALE CENTER                                               $55,652.46
                                                                                            LUNDSFORD
                                                                                         CHICAGO, IL 60606
                                                                                                USA
                                                                                 C/O NAI HIFFMAN, MELODY DIENER
                                                                                 ONE OAKBROOK TERRACE, STE 600
                                              RPAI OAK BROOK PROMENADE I,
       STORE NO. 114 ‐ OAK BROOK IL                                                      ATTN LEGAL DEPT              $0.00
                                                          LLC.
                                                                                   OAKBROOK TERRACE, IL 60181
                                                                                                USA
                                                                                     7014 ‐ 590 CAMELBACK RD
                                                                                       ATTN: GUY MERCURIO
STORE NO. 101 ‐ SCOTTSDALE FASHION SQUARE      SCOTTSDALE FASHION SQUARE               MANAGEMENT OFFICE            $8,863.41
                                                                                      SCOTTSDALE, AZ 85251
                                                                                                USA
                                                                                     ATTN: JOSHUA LINDIMORE
                                              SCOTTSDALE QUARTER REIT I,LLC           180 E BROAD ST 21ST FL
  STORE NO. 154 ‐ SCOTTSDALE QUARTER AZ                                                                            $131,192.20
                                                  DBA SDQ III RETAIL, LLC              COLUMBUS, OH 43215
                                                                                                USA
                                                                                     ATTN: JOSHUA LINDIMORE
                                              SCOTTSDALE QUARTER REIT II, LLC         180 E BROAD ST 21ST FL
  STORE NO. 154 ‐ SCOTTSDALE QUARTER AZ                                                                             $417.92
                                                    DBA SDQ III FEE, LLC               COLUMBUS, OH 43215
                                                                                                USA




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                                                                                                                    Cure
       Store Identification                   Counterparty to Lease                 Address of Counterparty
                                                                                                                   Amount
                                                                                    ATTN: JOSHUA LINDIMORE
                                         SCOTTSDALE QUARTER REIT II, LLC             180 E BROAD ST 21ST FL
STORE NO. 000 ‐ CORPORATE OFFICE                                                                                  $195,046.60
                                                DBA SED FEE, LLC                   COLUMBUS, OH 43260‐3707
                                                                                              USA
                                                                                SCOTTSDALE FASHION OFFICE LLC ‐
                                                                                      11411 N TATUM BLVD
  OLD CORPORATE OFFICE LEASE                      SFS PARTNERSHIP                  ATTN L PROPERTY MANAGER         $1,000.00
                                                                                       PHOENIX, AZ 85028
                                                                                              USA
                                                                                     ATTN: MICHELE WALTON
                                                                                            TAUBMAN
   STORE NO. 106 ‐ DENVER CO               TAUBMAN CHERRY CREEK LP               200 EAST LONG LAKE RD, STE 300   $178,894.96
                                                                                     DETROIT, MI 48267‐1895
                                                                                              USA
                                                                                     ATTN: MICHELE WALTON
                                                                                            TAUBMAN
  STORE NO. 135 ‐ SARASOTA FL                 TB MALL AT UTC, LLC                200 EAST LONG LAKE RD, STE 300   $121,392.50
                                                                                     DETROIT, MI 48267‐1895
                                                                                              USA
                                                                                       ATTN: WEST MILLER
                                                                                    C/O CENTERGY RETAIL LLC
   STORE NO. 132 ‐ EL PASO TX              THE FOUNTAINS AT FARAH LP               8235 DOUGLAS AVE, STE 900      $27,150.31
                                                                                        EL PASO, TX 75225
                                                                                              USA
                                                                              C/O CENCOR REALTY SERVICES INC.
                                                                           ATTN GENERAL COUNSEL, DAVID PALMER
    STORE NO. 138 ‐ PLANO TX                WEST PLANO VILLAGE, LTD.           3102 MAPLE AVENUE, SUITE 500          $0.00
                                                                                     DALLAS, TX 75201
                                                                                           USA




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                                                                                                              Cure
      Store Identification                  Counterparty to Lease              Address of Counterparty
                                                                                                             Amount
                                                                            WESTCOR SANTAN VILLAGE LLC
                                                                                14111 N TATUM BLVD
    STORE NO. 120 ‐ GILBERT             WESTCOR SANTAN HOLDINGS, LLC    ATTN CENTER MANAGER, GUY MERCURIO     $0.00
                                                                                 PHOENIX, AZ 85028
                                                                                         USA
                                                                                ATTN: DONNA BECKER
                                                                           12300 SINGLETREE LANE, STE 200
STORE NO. 122 ‐ EDEN PRARIE MN               WINDSOR PLAZA, LLC             ATTN LEASE ADMINISTRATION         $0.00
                                                                               EDEN PRAIRIE, MN 55344
                                                                                         USA
                                                                                 ATTN: JASON CHENG
                                                                                   2035 ROUTE 27
                                       WOODBRIDGE RESTAURANT URBAN
 STORE NO. 126 ‐ WOODBRIDGE                                                          SUITE 2150             $20,250.00
                                                RENEWAL
                                                                                  EDISON, NJ 08817
                                                                                         USA




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